
581 S.E.2d 444 (2003)
357 N.C. 169
STATE of North Carolina
v.
Steven D. STAFFORD.
No. 178P03.
Supreme Court of North Carolina.
May 1, 2003.
Jane Ammons Gilchrist, Assistant Attorney General, Peter S. Gilchrist, III, District Attorney, for State.
Prior report: 150 N.C.App. 566, 564 S.E.2d 60.

ORDER
Upon consideration of the petition filed by Defendant in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 1st day of May 2003."
